         Case 2:22-cv-02401-KNS Document 19 Filed 02/15/23 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NICHOLAS MARINELLI,                          :
                                   Plaintiff :
                                             :
                     v.                      :       No. 22-2401
                                             :
SUPERINTENDENT                               :
JAIME SORBER, et al.,                        :
                                  Defendant :


                               WITHDRAWAL OF APPEARANCE


       Kindly withdraw the appearance of Susan Affronti on behalf of Defendant

Superintendent Jaime Sorber.




                                                  Respectfully submitted,

                                                  MICHELLE A. HENRY
                                                  Acting Attorney General


                                          By:     s/ Susan E. Affronti
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Date: February 15, 2023                          Counsel for Defendant Sorber
         Case 2:22-cv-02401-KNS Document 19 Filed 02/15/23 Page 2 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NICHOLAS MARINELLI,                           :
                                    Plaintiff :
                                              :
                      v.                      :        No. 22-2401
                                              :
SUPERINTENDENT                                :
JAIME SORBER, et al.,                         :
                                   Defendant :

                                 CERTIFICATE OF SERVICE

       I, Susan E. Affronti, Deputy Attorney General, hereby certify that on February 15, 2023,

I caused to be served a true and correct copy of the foregoing document titled Withdrawal of

Appearance to the following:

VIA U.S. MAIL
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Pro Se Plaintiff


                                             s/ Susan E. Affronti
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                                            Deputy Attorney General
